        Case 3:17-cv-00072-NKM-JCH Document 59 Filed 11/01/17 Page 1 of 2 Pageid#: 212

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                            Plaintiff(s)
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                           Defendant(s)


                                                   6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) 1DWKDQ 'DPLJR
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                                                                             CLERK OF COURT


            October 18, 2017
'DWH
                                                                                        Signature of Clerk or Deputy Clerk




          Case 3:17-cv-00072-NKM Document 30 Filed 10/18/17 Page 1 of 2 Pageid#: 158
Case 3:17-cv-00072-NKM-JCH Document 59 Filed 11/01/17 Page 2 of 2 Pageid#: 213
